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 7

 8                                UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA                           Case No.: 1:06-cr-00136 KJM
12                       Plaintiff,                      WAIVER OF DEFENDANT DAVID JOHN
                                                         DEPEW JR.’S PERSONAL PRESENCE AT
13            v.                                         THE JUNE 13, 2024, ARRAIGNMENT ON
                                                         THE SECOND SUPERSEDING PETITION
14    DAVID JOHN DEPEW JR.,                              FOR WARRANT OR SUMMONS
15                       Defendant.
16

17          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the defendant, by and
18   through his counsel of record, Kellan S. Patterson, hereby waives the right to be present in person
19   in open court upon his arraignment on the Second Superseding Petitioner (ECF No. 55). The
20   undersigned defendant requests the Court to proceed during every absence of his which the Court
21   may permit pursuant to this waiver; agrees that his interests will be deemed represented at all
22   times by the presence of his attorney, the same as if the defendant himself was personally present
23   in court; and further agrees to be present in person in court ready for trial or evidentiary hearing
24   on any day and hour which the Court may fix in his absence.
25          It is further represented that the defendant has been advised of his constitutional rights and
26   all other rights he has pertaining to this proceeding. The court is advised that Defendant was
27   personally present at his initial arraignment where he was advised by the court of his rights and
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                                                        1
        WAIVER OF DEFENDANT DAVID JOHN DEPEW JR.’S PERSONAL PRESENCE AT THE JUNE 13,
        2024, ARRAIGNMENT ON THE SECOND SUPERSEDING PETITION FOR WARRANT OR SUMMONS
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 1   the nature of these proceedings which defendant verbally represented to the court that he

 2   understood.

 3          Defendant requests that the Court waive his personal appearance at the Arraignment

 4   scheduled for June 13, 2024, at 2:00 p.m., before Magistrate Judge Carolyn K. Delaney.

 5

 6   Dated: June 13, 2024

 7                                                             /s/ Kellan S. Patterson

 8                                                        Kellan S. Patterson
                                                          Attorney for DAVID DEPEW JR.
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     ORDER
11
     Good Cause Appearing, IT IS SO ORDERED that Defendant’s personal appearance at the June
12
     13, 2024, arraignment is hereby waived.
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14   Dated: June 13, 2024
                                                     _____________________________________
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                                                     CAROLYN K. DELANEY
16                                                   UNITED STATES MAGISTRATE JUDGE

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